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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: May 20, 2024.

                                                             __________________________________
                                                                     SHAD M. ROBINSON
                                                             UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

   IN RE:                                         §                               22-10783-SMR
                                                  §
   JUST ONE DIME COACHING, LLC                    §
                                                  §
   DEBTOR                                         §                                 CHAPTER 7

      SUA SPONTE ORDER TRANSMITTING APPEAL TO THE DISTRICT COURT

         On March 20, 2024, the Court entered its Order Denying (ECF No. 259) the Chapter 7

  Trustee’s Motion to Approve Limited Settlement with Certain Creditor Parties (ECF No. 205). On

  April 3, 2024, a certain group of creditors called the Minns Firm Clients filed a Motion for Leave

  to Take Interlocutory Appeal (the “Original Motion for Leave,” ECF No. 264) which was

  subsequently amended on April 19, 2024, by the Minns Firm Clients in their Amended Motion for

  Leave to Appeal (the “Amended Motion for Leave,” ECF No. 280).

         Upon review, the Court noticed that the Minns Firm Clients attached a Notice of

  Interlocutory Appeal and Statement of Election (the “Notice,” ECF No. 264-1) to their Original

  Motion for Leave. The Court finds that under Federal Rule of Bankruptcy Procedure 8004(c)(1)
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  the Court is required to order the bankruptcy clerk to transmit this matter to the District Court so

  that the District Court may resolve these matters.

         ACCORDINGLY, IT IS THEREFORE ORDERED that the bankruptcy clerk of court

  shall promptly transmit the notice and motions for leave to the district clerk along with any other

  responses or pleadings related thereto.

         IT IS FURTHER ORDERED that this Court does not express an opinion on the Original

  Motion for Leave, Amended Motion for Leave, or the Notice.

                                                  ###
